         Case 1:23-mj-00034-RMM Document 10 Filed 02/16/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.                                          Case No. 23-MJ-000034

 KENDRID HAMLIN,

                  Defendant.


                                             ORDER


       In consideration of the Defendant’s Motion to Vacate the Detention Hearing Exclude

Time, it is hereby ORDERED on this 16th day of February, 2023, that the detention hearing

previously scheduled for February 17th in this matter is vacated.

       It is further ORDERED that a status hearing in this case will be held on March 16, 2023, at 2 p.m.

       It is further ORDERED that time is excluded pursuant to the Speedy Trial Act between

February 15, 2023 until the date of the next hearing.

                                                                         Digitally signed by Moxila A.
                                                                         Upadhyaya
                                                        ___________________________________
                                                                         Date: 2023.02.16 16:25:27 -05'00'

                                                        Moxila A. Upadhyaya
                                                        United States Magistrate Judge
